                      Case 2:18-cv-01077-MHT-SMD Document 9 Filed 02/11/19 Page 1 of 6



                                      1N THE UNITED STATES DISTRICT COURT FOR THE
                                              MIDDLE DISTRICT OF ALABAMA
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                                                                           DEBRA P. HACKETT, CLK
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                      Plaintiff(s),                                CIVIL A            IRV ALA
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